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                                        OFFICE OF THE CLERK

 PATRICIA S. DODSZUWEIT        UNITED STATES COURT OF APPEALS                 TELEPHONE
                                         FOR THE THIRD CIRCUIT               215-597-2995
         CLERK                     21400 UNITED STATES COURTHOUSE
                                          601 MARKET STREET
                                      PHILADELPHIA, PA 19106-1790
                                   Website: www.ca3.uscourts.gov

                                         October 9, 2024



Melissa E. Rhoads
United States District Court for the District of New Jersey
Clarkson S. Fisher Federal Building and United States Courthouse
402 E State Street
Trenton, NJ 08608


 RE: Black Ship LLC, et al v. Heartland Payment Systems LLC
 Case Number: 23-1997
 District Court Case Number: 3-21-cv-13855


Dear District Clerk

Enclosed herewith is the certified judgment together with copy of the opinion in the
above-captioned case(s). The certified judgment or order is issued in lieu of a formal
mandate and is to be treated in all respects as a mandate.

Counsel are advised of the issuance of the mandate by copy of this letter. The certified
judgment shows costs taxed, if any.

Very Truly Yours,

s/ Patricia S. Dodszuweit
Clerk

By: s/ James King
Case Manager
Direct Dial: 267-299-4958
Case 3:21-cv-13855-ZNQ-JTQ     Document 56-1   Filed 10/09/24   Page 2 of 2 PageID:
                                      726



cc:   David L. Balser, Esq.
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 Kathryn P. Tenkhoff, Esq.
